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                                                                                         FILED
                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                           Alexandria Division
                                                                                 2031 iiGV iqp 3: 32

 MYRON ADINIG,
 6631 Wakefield Drive
 Unit 201
 Alexandria, VA 22307,

           Plaintiff

  v.
                                                         Civil Action No.   ( z. O~J C\/ 11 ~f

 TRANSWORLD SYSTEMS, INC.,
 d/b/a Credit Management Services
 4560 South Boulevard, No. 100
 Virginia Beach, VA 23452,

         Defendant.



                                             COMPLAINT

         Plaintiff Myron Adinig ("Adinig"), by his undersigned counsel, brings this action against

Defendant Transworld Systems, Inc. ("Transworld"), and for his complaint in this action states as
follows:


         1.       This Court has jurisdiction of this matter under 15 U.S.C. § 1692k and 28 U.S.C.
§1331.


         2.       Plaintiff Adinig (an individual) is a resident of Fairfax County, Virginia.

         3.      Defendant Transworld is a California corporation doing business in Virginia

under the name of Credit Management Services at 4560 South Boulevard, No. 100, Virginia
Beach, VA 23452.


       4.        Transworld engages in the business of acquiring consumer debts payable to others

for the purpose of collection when those debts are in default.
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            5.    Defendant regularly collects or attempts to collect debts owed or due or asserted

 to be owed or due another by consumers to pay money arising out of transactions in which the

 money, property, insurance, or services which are the subject of the transactions are primarily for

 personal, family, or household purposes.


           6.     Defendant regularly uses the mails and other instrumentalities of interstate

 commerce in its collection of or attempts to collect debts owed or due or asserted to be owed or
 due another by consumers.


           7.     On or about November 20, 2006, Transworld, through its agent David H.

 Gouger, P.C., which was itself a debt collector under the Fair Debt Collection Practices Act, filed

a warrant in debt against Adinig in Civil Action No. GV06-31837 in the General District Court

for Fairfax County ("Fairfax County Action").

        8.       The warrant in debt that Transworld filed against Adinig sought recovery from

Adinig of a debt that Transworld alleged that Adinig owed the Jow Hop Kuen Gung Fu Academy

("Academy") of Silver Spring, Maryland for martial arts training that Adinig sought for personal
reasons.



                                              COUNTI
                                    Violation of 15 U.S.C. § 1692f

       9.        Plaintiff incorporates herein by reference the allegations of the preceding
paragraphs 1 through 8 as if the same were fully set forth herein.

       10.       Attached to the warrant in debt that Defendant filed against Adinig in the Fairfax

County Action on November 20, 2006 was a document which purported to be an enrollment
application for Adinig with the Academy.




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         11.     This same enrollment application was also attached to a bill of particulars that
 Transworld filed against Adinig on January 12,2007 in the Fairfax County Action.

         12.     The enrollment application attached to the warrant in debt and the bill of

 particulars in the Fairfax County Action contains Adinig's name and address as well as his social
 security number and date of birth.


         13.    Because the warrant in debt and the bill of particulars in the Fairfax County

 Action are public documents, the enrollment application with Adinig's social security number
 and date of birth are also available to the public.

         14.    By disclosing Adinig's social security number and date of birth to the public,

Transworld subjected Adinig to identity theft and therefore used an unfair or unconscionable
means to attempt to collect a debt.


                                              COUNT II
                                Violation of 15 U.S.C. § 1692e(2)(A)

        15.     Plaintiff incorporates herein by reference the allegations of the preceding

paragraphs 1 through 14 as if the same were fully set forth herein.

        16.     Both the warrant in debt and the bill of particulars in the Fairfax County Action

asserted that Adinig owed Transworld the sum of $4,391.00.

        17.    In fact the assertion that Adinig owed Transworld $4,391.00 was false because

Adinig did not owe Transworld anything.

        18.    In the alternative to the allegations of the preceding paragraph, the assertion that

Adinig owed Transworld $4,391.00 was false because the amount that Adinig may have owed to

Transworld was far less than that.




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                                               COUNT III
                        Violation of 15 U.S.C. § 1692e(2)(A) and § 1692e(10)

          19.    Plaintiff incorporates herein by reference the allegations of the preceding
 paragraphs 1 through 18 as if the same were fully set forth herein.

          20.    The warrant in debt that Transworld filed in the Fairfax County Action states that
 Adinig owed Transworld six per cent interest on the sum of $4,391 since March 24,2004.

          21.   The bill of particulars that Transworld filed in the Fairfax County Action states

 that Adinig owed Transworld six per cent interest on the sum of $4,391 since May 1,2004.

         22.    Transworld's inconsistent filings show that Transworld misrepresented the

date from which interest began to accrue (and therefore the amount of interest that Adinig owed)

either in its warrant in debt or in its bill of particulars since the different dates both cannot be

right.


                                              COUNT IV
                       Violation of 15 U.S.C. § 1692e(2)(A) and § 1692f(l)

         23.    Plaintiff incorporates herein by reference the allegations of the preceding

paragraphs 1 through 21 as if the same were fully set forth herein.

         24.    In the alternative to the allegations of paragraph 22, interest did not begin to

accrue until 2006 on the sum of $4,391 that Transworld alleges that Plaintiff owed.

         25.    In stating that interest was due from some date in 2004 rather than 2006,

Transworld falsely represented the amount of the debt that Adinig allegedly owed.

         26.    Transworld's demand for interest from 2004 constituted the collection of interest

that was neither expressly authorized by the agreement creating the debt nor permitted by law.




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                                               COUNTV
                                 Violation of 15 U.S.C. § 1692e(2)(A)

           27.    Plaintiff incorporates herein by reference the allegations of the preceding
 paragraphs 1 through 18 as if the same were fully set forth herein.

           28.    Defendant stated in the bill of particulars filed in the Fairfax County Action that
 Adinig owed the sum of $399.00 for finance charges.

           29.    After Adinig filed a counterclaim in the Fairfax County Action for violation of the

 Truth in Lending Act because of the Academy's failure to provide the disclosures required by

 law for such finance charges, Transworld later claimed that the sum of $399.00 was for service

 charges rather than finance charges.

        30.      In alleging that Adinig owed the sum of $399.00 for finance charges, Transworld

misrepresented the character or status of the debt.

                                              COUNT VI
                                Violation of 15 U.S.C. § 1692e(2)(A)

        31.      Plaintiff incorporates herein by reference the allegations of the preceding

paragraphs 1 through 18 as if the same were fully set forth herein.

        32.      The affidavit that Transworld submitted as an attachment to the warrant in debt

filed against Defendant Adinig states that the amount due from Adinig was for an open credit
account.



        33.      The statement that the amount due from Adinig was for an open credit account

falsely represented the character and status of the debt since the debt of Adinig was for closed
end credit.




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                                               COUNT VII
                                      Violation of 15 U.S.C. § 1692f

         34.       Plaintiff incorporates herein by reference the allegations of the preceding

 paragraphs 1 through 21 and 27 through 28 as if the same were fully set forth herein.

        35.       In the alternative to the allegations of paragraphs 29 and 30, Defendant's demand

 for six per cent interest in addition to the ten per cent finance charges due under the agreement

 was usurious and therefore constituted an unfair or unconscionable means to collect or attempt to
collect a debt.


                                              COUNT VIII
                                     Violation of 15 U.S.C. § 1692f

        36.       Plaintiff incorporates herein by reference the allegations of the preceding

paragraphs 1 through 18 and 27 through 28 as if the same were fully set forth herein.

        37.       In the alternative to the allegations of paragraphs 29,30, and 35, the finance

charges allegedly due under the agreement between Adinig and the Academy were usurious

under the law of Maryland, where the contract was purportedly executed and to be performed.

       38.        The alleged agreement under which Transworld sought to recover from Adinig in

the Fairfax County Action was also unlawful, and therefore nothing was due under it, because the

Academy was not registered with the Consumer Protection Division of the Office of the

Maryland Attorney General and therefore could not legally sell Adinig the services for which

Transworld sought to recover from Adinig.




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                                              COUNT IX
                                 Violation of 15 U.S.C. § 1692e(10)

          39.    Plaintiff incorporates herein by reference the allegations of the preceding
 paragraphs 1 through 18 as if the same were fully set forth herein.

          40.    Transworld filed a motion in the Fairfax County Action to amend its previously
filed bill of particulars against Adinig.

          41.    Transworld's motion to amend the bill of particulars states that Transworld, as the
assignee of C & P Construction, moves to amend the bill of particulars.

          42.   Transworld's statement that it was the assignee of C & P Construction is false.

          WHEREFORE Plaintiff demands judgment against Defendant for actual and statutory

damages of no less than $12,000, interest on all damages to the date of judgment, and Plaintiffs

reasonable attorney's fees as well as all costs and expenses incurred in the prosecution of this
action.


                                                      MYRON ADINIG
                                                      By Counsel



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                                DEMAND FOR JURY TRIAL

    Plaintiff demands a jury trial as to all issues triable of right by a jury.




                                                    Ernest P. Francis




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